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                                               April 4, 2024

  VIA ELECTRONIC MAIL

  Magistrate Judge Michael A. Hammer
  United States District Court District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Courtroom: MLK 2C
  Newark, NJ 07102

  RE:     Agdal v Danis, Case No. 2:23-cv-16873




  Dear Magistrate Judge Hammer

            We represent non-party Joshua Wander, whose deposition is due to be scheduled in

    pursuance of Magistrate Judge Torres's order on Plaintiff's Motion to Compel in the Southern

    District of Florida. We write to correct a clear mischaracterization of the facts found in the

    letter submitted by Plaintiff yesterday afternoon. (Dkt. No. 49 (hereinafter “Plaintiff’s

    Letter”)) and to provide additional relevant information for the Court’s consideration.

            As you may recall, the dispute in this matter revolves around Plaintiff’s efforts to

    depose Mr. Wander, a third party, whose sole connection to the case is that he took a photo

    of Ms. Agdal in 2012 when they had a romantic encounter. The Defendant somehow obtained

    and disseminated a copy of the photo without Mr. Wander’s knowledge or permission and,

    indeed, without having ever met or communicated with Mr. Wander in any way. After the
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   February 9, 2024, hearing before Your Honor, Plaintiff moved to compel Mr. Wander’s

   deposition in South Florida. Subsequently, Magistrate Judge Torres granted the motion to

   compel the deposition but made clear that “obviously if [Mr. Wander’s] answer is he doesn't

   know anything, then the deposition can be quickly ended.” (Mar. 28, 2024, Hr’g Tr. at 22-3-

   5.), and left scheduling to counsel to arrange.

           In Plaintiff’s Letter, counsel for the Plaintiff stated that "they have reached out three

   separate times for agreeable dates to this point and have yet to hear back." This is false.

   Counsel for Mr. Wander responded to Plaintiff's enquiry this past Tuesday, April 2, 2024, and

   Plaintiff's counsel acknowledged this communication, and thanked Mr. Wander's counsel for

   the response. (A true and correct copy of the relevant email correspondence is attached to this

   letter as Exhibit A.) While no date for the deposition had at that time been agreed, that is not

   what the text of Plaintiff's letter says, nor is it what Plaintiff’s counsel implied.

           We are unsure as to why counsel for Plaintiff would misrepresent an obviously

   disprovable and documented fact in this manner, and although we asked for a correction or

   retraction, Plaintiff’s counsel has refused. Moreover, we understand that the discovery

   deadline in the New Jersey matter has been extended into May, and we are working to secure

   a date for the deposition that is amenable to both sides. Although Mr. Wander – who is very

   frequently out of the country for work -- offered April 16, 2024, for a Zoom deposition (as

   was permissible under Judge Torres’s order). Plaintiff has refused that offer, requiring that

   Mr. Wander physically appear for his deposition. We are now looking to find a date before

   the discovery cutoff.

           We felt that the Court should be aware of the issue.
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          Thank you for Your Honor’s consideration of this matter.




          Respectfully submitted,

          /s/ James Ward

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